COMPLAINT NUMBER: 2017-0847244 WARRANT NUMBER: GS829608

PROSECUTOR: Derry Gordon Baltimore
DEFENDANT: Luis Miguel Colindres-Varela
VICTIM: Hector Pagada

STATE OF TENNESSEE, COUNTY OF DAVIDSON
AFFIDAVIT
CRIMINAL HOMICIDE
T.C.A. 39-13-201

Personally appeared before me, the undersigned [Select one]_x Commissioner ___ Metropolitan General Sessions Judge,
the prosecutor named above and made oath in due form of law that [Select one] _x_he____ she [Select one] ___
personally observed _x_ has probable cause to believe that the defendant named above on 09/29/2017 in Davidson County,
did unlawfully kill the victim named above and upon him/her did commit an offense of criminal homicide. The probable
cause is as follows:

On 9-24-17 at 06:30 Police were called to 311 Natchez Ct on a shooting call. Upon arrival, Police found a black Lincoln
MKS in the parking lot with two victim's inside. The victims were Hector Pagada and Yeri Gabino. Both victims’ had been
shot multiple times. They were declared deceased on the scene by medical personnel. Video surveillance from the apartment
complex showed a white Chevrolet Traverse pull into the parking lot behind the victim's car. The Chevrolet Traverse pulled
around the victim's car and blocked it. Suspects then got out of the Chevrolet Traverse and fired shots into the victim's
vehicle. The suspect vehicle then fled the scene. On the date, 9-27-17, Oscar Delgado Flores came to the South Station for an
interview, and implicated himself in the incident. He admitted to being the driver of the white Chevrolet Traverse that was
involved in the shooting. He then stated that Luis Colindres was one of the people that shot the victims. Interviews with Pedro
Tineo and Carrie Hughes also put Luis Colindres in the white Chevrolet Traverse at the time of the shooting.

Prosecutor: Derry Gordon Baltimore 0000003178
200 James Robertson Parkway
Nashville, Tennessee 37201

ARREST WARRANT

Information on oath having been made, that on the day and year aforesaid, and in the County aforesaid, the offense —

of Homicide - Criminal FELONY, as aforesaid, has been committed and charging the defendant thereof, you are therefore
commanded, in the name of the State, forthwith to arrest and bring the defendant before a judge of the Court of General
Sessions of Davidson County, Tennessee, to answer the above charge.

Sworn to and subscribed before me on 09/29/2017 11:13:41

Steve Holzapfel
Judge of the Metropolitan General Sessions Court/Commissioner

Case 3:18-cr-00293 Document 396-¢! ! PAR 02/24/23 Page 1 of 2 PagelD #: 1332,

COMPLAINT NUMBER: 2017-0847244 WARRANT NUMBER: GS829609

PROSECUTOR: Derry Gordon Baltimore '
DEFENDANT: Luis Miguel Colindres-Varela
VICTIM: Yeri Gabino

STATE OF TENNESSEE, COUNTY OF DAVIDSON
AFFIDAVIT
CRIMINAL HOMICIDE
T.C.A. 39-13-201

Personally appeared before me, the undersigned [Select one] __x_ Commissioner __ Metropolitan General Sessions Judge,
the prosecutor named above and made oath in due form of law that [Selectone]__x_he___ she [Select one] __
personally observed _x__ has probable cause to believe that the defendant named above on 09/29/2017 in Davidson County,
did unlawfully kill the victim named above and upon him/her did commit an offense of criminal homicide. The probable
cause is as follows:

On 9-24-17 at 06:30 Police were called to 311 Natchez Ct on a shooting call. Upon arrival, Police found a black Lincoln MKS
in the parking lot with two victim's inside. The victims were Hector Pagada and Yeri Gabino. Both victims’ had been shot
multiple times. They were declared deceased on the scene by medical personnel. Video surveillance from the apartment
complex showed a white Chevrolet Traverse pull into the parking lot behind the victim's car. The Chevrolet Traverse pulled
around the victim's car and blocked it. Suspects then got out of the Chevrolet Traverse and fired shots into the victim's vehicle.
The suspect vehicle then fled the scene. On the date, 9-27-17, Oscar Delgado Flores came to the South Station for an
interview, and implicated himself in the incident. He admitted to being the driver of the white Chevrolet Traverse that was
involved in the shooting. He then stated that Luis Colindres was one of the people that shot the victims. Interviews with Pedro
Tineo and Carrie Hughes also put Luis Colindres in the white Chevrolet Traverse at the time of the shooting.

Prosecutor: Derry Gordon Baltimore 0000003178
200 James Robertson Parkway
Nashville, Tennessee 37201

ARREST WARRANT

Information on oath having been made, that on the day and year aforesaid, and in the County aforesaid, the offense

of Homicide - Criminal FELONY, as aforesaid, has been committed and charging the defendant thereof, you are therefore
commanded, in the name of the State, forthwith to arrest and bring the defendant before a judge of the Court of General
Sessions of Davidson County, Tennessee, to answer the above charge. ,

Sworn to and subscribed before me on 09/29/2017 11:14:44

Steve Holzapfel
Judge of the Metropolitan General Sessions Court/Commissioner

Case 3:18-cr-00293 Document 396-2 | nagsa 02/24/23 Page 2 of 2 PagelD #: 1333

